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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA _ : Case No: 21-CR-100 (CRC)

40 U.S.C. § 5104(e)(2)(G)
(Parading Demonstrating, or Picketing in

v. : a Capitol Building)
JACOB LEWIS, 3
Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Jacob Lewis, with the concurrence of his attorney, agree and stipulate to the below factual basis
for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate
that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The United States Capitol, which is located at First Street, SE, in Washington, D.C.,
is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

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3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the US.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Lewis’s Participation in the January 6, 2021, Capitol Riot
8. Lewis traveled from his home in California to be in Washington D.C. on January
6, 2021. While there, he entered the U.S. Capitol. Lewis posted videos from the Capitol grounds
to his Instagram account.
9. On January 15, 2021, Lewis was interviewed by the FBI at his residence. He
admitted he traveled from his home in California to Washington, D.C. to attend President Trump’s

rally on January 6. Following the rally, he walked to and then into the Capitol, with a number of

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people, after it had been breached. Lewis acknowledged wearing clothing that agents had seen

him wearing, in other videos that had been taken of Lewis inside the Capitol.

10. Lewis entered the Senate Wing Door to the Capitol Building at approximately 2:56

p.m. He is then seen walking by the House Wing Doors, through the Hall of Columns, through

the Crypt, and then exiting out of the South Door at approximately 3:03 p.m.

11. Lewis knew at the time he entered the U.S. Capitol Building that he did not have

permission to enter the building and the defendant paraded, demonstrated, or picketed.

By:

Respectfully submitted,

MATTHEW M. GRAVES
United States Attorney
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/s/ Susan T. Lehr

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DEFENDANT” KNOWLEDGMEN

1, Jacob Lewis, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will, No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

Date: [- G-TL Loge
. . bLewis
Defendant

A ¥’S ACKNOWLED

 

L have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

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Date: _ January 5, 2022 (pr
David R. Bighey, Esq.
Attorney for Defendant

Dan Eckhart, Esq.
Attorney for Defendant

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